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                     EXHIBIT A
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        (Slip Opinion)              OCTOBER TERM, 2013                                       1

                                               Syllabus

                 NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
               being done in connection with this case, at the time the opinion is issued.
               The syllabus constitutes no part of the opinion of the Court but has been
               prepared by the Reporter of Decisions for the convenience of the reader.
               See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


        SUPREME COURT OF THE UNITED STATES

                                               Syllabus

            ATLANTIC MARINE CONSTRUCTION CO., INC. v.
             UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF TEXAS ET AL.

        CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                          THE FIFTH CIRCUIT

           No. 12–929.      Argued October 9, 2013—Decided December 3, 2013
        Petitioner Atlantic Marine Construction Co., a Virginia corporation,
          entered into a subcontract with respondent J-Crew Management,
          Inc., a Texas corporation, for work on a construction project. The
          subcontract included a forum-selection clause, which stated that all
          disputes between the parties would be litigated in Virginia. When a
          dispute arose, however, J-Crew filed suit in the Western District of
          Texas. Atlantic Marine moved to dismiss, arguing that the forum-
          selection clause rendered venue “wrong” under 28 U. S. C. §1406(a)
          and “improper” under Federal Rule of Civil Procedure 12(b)(3). In
          the alternative, Atlantic Marine moved to transfer the case to the
          Eastern District of Virginia under 28 U. S. C. §1404(a). The District
          Court denied both motions. It concluded that §1404(a) is the exclu-
          sive mechanism for enforcing a forum-selection clause that points to
          another federal forum; that Atlantic Marine bore the burden of estab-
          lishing that a transfer would be appropriate under §1404(a); and that
          the court would consider both public- and private-interest factors,
          only one of which was the forum-selection clause. After weighing those
          factors, the court held that Atlantic Marine had not carried its burden.
             The Fifth Circuit denied Atlantic Marine’s petition for a writ of
          mandamus directing the District Court to dismiss the case under
          §1406(a) or to transfer it to the Eastern District of Virginia under
          §1404(a). The court agreed with the District Court that §1404(a) is
          the exclusive mechanism for enforcing a forum-selection clause that
          points to another federal forum; that dismissal under Rule 12(b)(3)
          would be the correct mechanism for enforcing a forum-selection
          clause that pointed to a nonfederal forum; and that the District Court
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            had not abused its discretion in refusing to transfer the case after
            conducting the balance-of-interests analysis required by §1404(a).
        Held:
            1. A forum-selection clause may be enforced by a motion to transfer
         under §1404(a), which provides that “[f]or the convenience of parties
         and witnesses, in the interest of justice, a district court may transfer
         any civil action to any other district or division where it might have
         been brought or to any district or division to which all parties have
         consented.” Pp. 4–11.
               (a) Section 1406(a) and Rule 12(b)(3) allow dismissal only when
         venue is “wrong” or “improper.” Whether venue is “wrong” or “im-
         proper” depends exclusively on whether the court in which the case
         was brought satisfies the requirements of federal venue laws. Title
         28 U. S. C. §1391, which governs venue generally, states that
         “[e]xcept as otherwise provided by law . . . this section shall govern
         the venue of all civil actions brought in” federal district courts.
         §1391(a)(1). It then defines districts in which venue is proper. See
         §1391(b). If a case falls within one of §1391(b)’s districts, venue is
         proper; if it does not, venue is improper, and the case must be dis-
         missed or transferred under §1406(a). Whether the parties’ contract
         contains a forum-selection clause has no bearing on whether a case
         falls into one of the specified districts.
            This conclusion is confirmed by the structure of the federal venue
         provisions, which reflects Congress’ intent that venue should always
         lie in some federal court whenever federal courts have personal ju-
         risdiction over the defendant. See §1391(b)(3). The conclusion also
         follows from this Court’s decisions construing the federal venue
         statutes. See Van Dusen v. Barrack, 376 U. S. 612; Stewart
         Organization, Inc. v. Ricoh Corp., 487 U. S. 22. Pp. 4–8.
               (b) Although a forum-selection clause does not render venue in a
         court “wrong” or “improper” under §1406(a) or Rule 12(b)(3), the
         clause may be enforced through a motion to transfer under §1404(a),
         which permits transfer to any other district where venue is proper or
         to any district to which the parties have agreed by contract or stipu-
         lation. Section 1404(a), however, governs transfer only within the
         federal court system. When a forum-selection clause points to a state
         or foreign forum, the clause may be enforced through the doctrine of
         forum non conveniens. Section 1404(a) is a codification of that doc-
         trine for the subset of cases in which the transferee forum is another
         federal court. Sinochem Int’l Co. v. Malaysia Int’l Shipping Corp.,
         549 U. S. 422. For all other cases, parties may still invoke the resid-
         ual forum non conveniens doctrine. See id., at 430. Pp. 8–10.
               (c) The Court declines to consider whether a defendant in a
         breach-of-contract action could obtain dismissal under Rule 12(b)(6) if
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          the plaintiff files suit in a district other than the one specified in a
          forum-selection clause. Petitioner did not file a motion to dismiss un-
          der Rule 12(b)(6), and the parties did not brief the Rule’s application.
          Pp. 10–11.
             2. When a defendant files a §1404(a) motion, a district court should
          transfer the case unless extraordinary circumstances unrelated to the
          convenience of the parties clearly disfavor a transfer. No such excep-
          tional factors appear to be present in this case. Pp. 11–17.
                (a) Normally, a district court considering a §1404(a) motion must
          evaluate both the private interests of the parties and public-interest
          considerations. But when the parties’ contract contains a valid
          forum-selection clause, that clause “represents [their] agreement as to
          the most proper forum,” Stewart, 487 U. S., at 31, and should be “given
          controlling weight in all but the most exceptional cases,” id., at 33
          (KENNEDY, J., concurring). The presence of a valid forum-selection
          clause requires district courts to adjust their usual §1404(a) analysis
          in three ways. First, the plaintiff’s choice of forum merits no weight,
          and the plaintiff, as the party defying the forum-selection clause, has
          the burden of establishing that transfer to the forum for which the
          parties bargained is unwarranted. Second, the court should not con-
          sider the parties’ private interests aside from those embodied in the
          forum-selection clause; it may consider only public interests. Because
          public-interest factors will rarely defeat a transfer motion, the practi-
          cal result is that forum-selection clauses should control except in un-
          usual cases. Third, when a party bound by a forum-selection clause
          flouts its contractual obligation and files suit in a different forum, a
          §1404(a) transfer of venue will not carry with it the original venue’s
          choice-of-law rules. See Van Dusen, supra, at 639. Pp. 12–16.
                (b) Here, the District Court’s application of §1404(a) did not com-
          port with these principles. The court improperly placed the burden
          on Atlantic Marine to prove that transfer to the parties’ contractually
          preselected forum was appropriate instead of requiring J-Crew, the
          party acting in violation of the forum-selection clause, to show that
          public-interest factors overwhelmingly disfavored a transfer. It also
          erred in giving weight to the parties’ private interests outside those
          expressed in the forum-selection clause. And its holding that public
          interests favored keeping the case in Texas because Texas contract
          law is more familiar to federal judges in Texas than to those in Vir-
          ginia rested in part on the District Court’s mistaken belief that
          the Virginia federal court would have been required to apply Texas’
          choice-of-law rules instead of Virginia’s. Pp. 16–17.
        701 F. 3d 736, reversed and remanded.

          ALITO, J., delivered the opinion for a unanimous Court.
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                                     Opinion of the Court

             NOTICE: This opinion is subject to formal revision before publication in the
             preliminary print of the United States Reports. Readers are requested to
             notify the Reporter of Decisions, Supreme Court of the United States, Wash-
             ington, D. C. 20543, of any typographical or other formal errors, in order
             that corrections may be made before the preliminary print goes to press.


        SUPREME COURT OF THE UNITED STATES
                                           _________________

                                           No. 12–929
                                           _________________


        ATLANTIC MARINE CONSTRUCTION COMPANY, INC.,
         PETITIONER v. UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF TEXAS ET AL.
         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                    APPEALS FOR THE FIFTH CIRCUIT
                                      [December 3, 2013]

           JUSTICE ALITO delivered the opinion of the Court.
           The question in this case concerns the procedure that
        is available for a defendant in a civil case who seeks to
        enforce a forum-selection clause. We reject petitioner’s
        argument that such a clause may be enforced by a motion
        to dismiss under 28 U. S. C. §1406(a) or Rule 12(b)(3) of
        the Federal Rules of Civil Procedure. Instead, a forum-
        selection clause may be enforced by a motion to transfer
        under §1404(a) (2006 ed., Supp. V), which provides that
        “[f ]or the convenience of parties and witnesses, in the
        interest of justice, a district court may transfer any civil
        action to any other district or division where it might have
        been brought or to any district or division to which all
        parties have consented.” When a defendant files such a
        motion, we conclude, a district court should transfer the
        case unless extraordinary circumstances unrelated to the
        convenience of the parties clearly disfavor a transfer. In
        the present case, both the District Court and the Court of
        Appeals misunderstood the standards to be applied in
        adjudicating a §1404(a) motion in a case involving a forum-
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        selection clause, and we therefore reverse the decision
        below.
                                      I
            Petitioner Atlantic Marine Construction Co., a Virginia
        corporation with its principal place of business in Virginia,
        entered into a contract with the United States Army Corps
        of Engineers to construct a child-development center at
        Fort Hood in the Western District of Texas. Atlantic
        Marine then entered into a subcontract with respondent
        J-Crew Management, Inc., a Texas corporation, for work on
        the project. This subcontract included a forum-selection
        clause, which stated that all disputes between the parties
        “ ‘shall be litigated in the Circuit Court for the City of
        Norfolk, Virginia, or the United States District Court for
        the Eastern District of Virginia, Norfolk Division.’ ” In re
        Atlantic Marine Constr. Co., 701 F. 3d 736, 737–738 (CA5
        2012).
            When a dispute about payment under the subcontract
        arose, however, J-Crew sued Atlantic Marine in the West-
        ern District of Texas, invoking that court’s diversity ju-
        risdiction. Atlantic Marine moved to dismiss the suit,
        arguing that the forum-selection clause rendered venue in
        the Western District of Texas “wrong” under §1406(a) and
        “improper” under Federal Rule of Civil Procedure 12(b)(3).
        In the alternative, Atlantic Marine moved to transfer the
        case to the Eastern District of Virginia under §1404(a).
        J-Crew opposed these motions.
            The District Court denied both motions. It first con-
        cluded that §1404(a) is the exclusive mechanism for en-
        forcing a forum-selection clause that points to another
        federal forum. The District Court then held that Atlantic
        Marine bore the burden of establishing that a transfer
        would be appropriate under §1404(a) and that the court
        would “consider a nonexhaustive and nonexclusive list of
        public and private interest factors,” of which the “forum-
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        selection clause [was] only one such factor.” United States
        ex rel. J-Crew Management, Inc. v. Atlantic Marine Constr.
        Co., 2012 WL 8499879, *5 (WD Tex., Apr. 6, 2012). Giving
        particular weight to its findings that “compulsory process
        will not be available for the majority of J-Crew’s witnesses”
        and that there would be “significant expense for those
        willing witnesses,” the District Court held that Atlantic
        Marine had failed to carry its burden of showing that
        transfer “would be in the interest of justice or increase the
        convenience to the parties and their witnesses.” Id., at
        *7–*8; see also 701 F. 3d, at 743.
           Atlantic Marine petitioned the Court of Appeals for a
        writ of mandamus directing the District Court to dismiss
        the case under §1406(a) or to transfer the case to the East-
        ern District of Virginia under §1404(a). The Court of
        Appeals denied Atlantic Marine’s petition because Atlantic
        Marine had not established a “ ‘clear and indisputable’ ”
        right to relief. Id., at 738; see Cheney v. United States
        Dist. Court for D. C., 542 U. S. 367, 381 (2004) (mandamus
        “petitioner must satisfy the burden of showing that [his]
        right to issuance of the writ is clear and indisputable”
        (internal quotation marks omitted; brackets in original)).
        Relying on Stewart Organization, Inc. v. Ricoh Corp., 487
        U. S. 22 (1988), the Court of Appeals agreed with the
        District Court that §1404(a) is the exclusive mechanism
        for enforcing a forum-selection clause that points to an-
        other federal forum when venue is otherwise proper in the
        district where the case was brought. See 701 F. 3d, at
        739–741.1 The court stated, however, that if a forum-
        selection clause points to a nonfederal forum, dismissal
        under Rule 12(b)(3) would be the correct mechanism to
        ——————
          1 Venue was otherwise proper in the Western District of Texas be-

        cause the subcontract at issue in the suit was entered into and was to
        be performed in that district. See United States ex rel. J-Crew Man-
        agement, Inc. v. Atlantic Marine Constr. Co., 2012 WL 8499879, *5 (WD
        Tex., Apr. 6, 2012) (citing 28 U. S. C. §1391(b)(2)).
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        enforce the clause because §1404(a) by its terms does not
        permit transfer to any tribunal other than another federal
        court. Id., at 740. The Court of Appeals then concluded
        that the District Court had not clearly abused its discre-
        tion in refusing to transfer the case after conducting the
        balance-of-interests analysis required by §1404(a). Id., at
        741–743; see Cheney, supra, at 380 (permitting mandamus
        relief to correct “a clear abuse of discretion” (internal
        quotation marks omitted)). That was so even though there
        was no dispute that the forum-selection clause was valid.
        See 701 F. 3d, at 742; id., at 744 (concurring opinion). We
        granted certiorari. 569 U. S. ___ (2013).
                                     II
          Atlantic Marine contends that a party may enforce a
        forum-selection clause by seeking dismissal of the suit
        under §1406(a) and Rule 12(b)(3). We disagree. Section
        1406(a) and Rule 12(b)(3) allow dismissal only when venue
        is “wrong” or “improper.” Whether venue is “wrong” or
        “improper” depends exclusively on whether the court in
        which the case was brought satisfies the requirements of
        federal venue laws, and those provisions say nothing
        about a forum-selection clause.
                                      A
          Section 1406(a) provides that “[t]he district court of a
        district in which is filed a case laying venue in the wrong
        division or district shall dismiss, or if it be in the interest
        of justice, transfer such case to any district or division in
        which it could have been brought.” Rule 12(b)(3) states
        that a party may move to dismiss a case for “improper
        venue.” These provisions therefore authorize dismissal
        only when venue is “wrong” or “improper” in the forum in
        which it was brought.
          This question—whether venue is “wrong” or “improper”—is
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        generally governed by 28 U. S. C. §1391 (2006 ed., Supp. V).2
        That provision states that “[e]xcept as otherwise provided
        by law . . . this section shall govern the venue of all civil
        actions brought in district courts of the United States.”
        §1391(a)(1) (emphasis added). It further provides that “[a]
        civil action may be brought in—(1) a judicial district in
        which any defendant resides, if all defendants are resi-
        dents of the State in which the district is located; (2) a
        judicial district in which a substantial part of the events
        or omissions giving rise to the claim occurred, or a sub-
        stantial part of property that is the subject of the action is
        situated; or (3) if there is no district in which an action
        may otherwise be brought as provided in this section, any
        judicial district in which any defendant is subject to the
        court’s personal jurisdiction with respect to such action.”
        §1391(b).3 When venue is challenged, the court must
        determine whether the case falls within one of the three
        categories set out in §1391(b). If it does, venue is proper;
        if it does not, venue is improper, and the case must be
        dismissed or transferred under §1406(a). Whether the
        parties entered into a contract containing a forum-
        selection clause has no bearing on whether a case falls into
        one of the categories of cases listed in §1391(b). As a
        result, a case filed in a district that falls within §1391 may
        not be dismissed under §1406(a) or Rule 12(b)(3).
           Petitioner’s contrary view improperly conflates the
        special statutory term “venue” and the word “forum.” It
        is certainly true that, in some contexts, the word “venue”
        is used synonymously with the term “forum,” but §1391
        makes clear that venue in “all civil actions” must be de-
        termined in accordance with the criteria outlined in that
        ——————
          2 Section 1391 governs “venue generally,” that is, in cases where a

        more specific venue provision does not apply. Cf., e.g., §1400 (identify-
        ing proper venue for copyright and patent suits).
          3 Other provisions of §1391 define the requirements for proper venue

        in particular circumstances.
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        section. That language cannot reasonably be read to allow
        judicial consideration of other, extrastatutory limitations
        on the forum in which a case may be brought.
           The structure of the federal venue provisions confirms
        that they alone define whether venue exists in a given
        forum. In particular, the venue statutes reflect Congress’
        intent that venue should always lie in some federal court
        whenever federal courts have personal jurisdiction over
        the defendant. The first two paragraphs of §1391(b) de-
        fine the preferred judicial districts for venue in a typical
        case, but the third paragraph provides a fallback option: If
        no other venue is proper, then venue will lie in “any judi-
        cial district in which any defendant is subject to the
        court’s personal jurisdiction” (emphasis added). The stat-
        ute thereby ensures that so long as a federal court has
        personal jurisdiction over the defendant, venue will al-
        ways lie somewhere. As we have previously noted, “Con-
        gress does not in general intend to create venue gaps,
        which take away with one hand what Congress has given
        by way of jurisdictional grant with the other.” Smith v.
        United States, 507 U. S. 197, 203 (1993) (internal quota-
        tion marks omitted). Yet petitioner’s approach would
        mean that in some number of cases—those in which the
        forum-selection clause points to a state or foreign court—
        venue would not lie in any federal district. That would not
        comport with the statute’s design, which contemplates
        that venue will always exist in some federal court.
           The conclusion that venue is proper so long as the re-
        quirements of §1391(b) are met, irrespective of any forum-
        selection clause, also follows from our prior decisions
        construing the federal venue statutes. In Van Dusen v.
        Barrack, 376 U. S. 612 (1964), we considered the meaning
        of §1404(a), which authorizes a district court to “transfer
        any civil action to any other district or division where it
        might have been brought.” The question in Van Dusen
        was whether §1404(a) allows transfer to a district in which
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        venue is proper under §1391 but in which the case could
        not have been pursued in light of substantive state-law
        limitations on the suit. See id., at 614–615. In holding
        that transfer is permissible in that context, we construed
        the phrase “where it might have been brought” to refer
        to “the federal laws delimiting the districts in which such
        an action ‘may be brought,’ ” id., at 624, noting that
         “the phrase ‘may be brought’ recurs at least 10 times” in
        §§1391–1406, id., at 622. We perceived “no valid reason
        for reading the words ‘where it might have been brought’
        to narrow the range of permissible federal forums beyond
        those permitted by federal venue statutes.” Id., at 623.
           As we noted in Van Dusen, §1406(a) “shares the same
        statutory context” as §1404(a) and “contain[s] a similar
        phrase.” Id., at 621, n. 11. It instructs a court to transfer
        a case from the “wrong” district to a district “in which it
        could have been brought.” The most reasonable interpre-
        tation of that provision is that a district cannot be “wrong”
        if it is one in which the case could have been brought
        under §1391. Under the construction of the venue laws we
        adopted in Van Dusen, a “wrong” district is therefore a
        district other than “those districts in which Congress has
        provided by its venue statutes that the action ‘may be
        brought.’ ” Id., at 618 (emphasis added). If the federal
        venue statutes establish that suit may be brought in a
        particular district, a contractual bar cannot render venue
        in that district “wrong.”
           Our holding also finds support in Stewart, 487 U. S. 22.
        As here, the parties in Stewart had included a forum-
        selection clause in the relevant contract, but the plaintiff
        filed suit in a different federal district. The defendant had
        initially moved to transfer the case or, in the alternative,
        to dismiss for improper venue under §1406(a), but by the
        time the case reached this Court, the defendant had aban-
        doned its §1406(a) argument and sought only transfer
        under §1404(a). We rejected the plaintiff ’s argument that
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        state law governs a motion to transfer venue pursuant to a
        forum-selection clause, concluding instead that “federal
        law, specifically 28 U. S. C. §1404(a), governs the District
        Court’s decision whether to give effect to the parties’
        forum-selection clause.” Id., at 32. We went on to explain
        that a “motion to transfer under §1404(a) . . . calls on the
        district court to weigh in the balance a number of case-
        specific factors” and that the “presence of a forum-
        selection clause . . . will be a significant factor that figures
        centrally in the district court’s calculus.” Id., at 29.
          The question whether venue in the original court was
        “wrong” under §1406(a) was not before the Court, but we
        wrote in a footnote that “[t]he parties do not dispute that
        the District Court properly denied the motion to dismiss
        the case for improper venue under 28 U. S. C. §1406(a)
        because respondent apparently does business in the
        Northern District of Alabama. See 28 U. S. C. §1391(c)
        (venue proper in judicial district in which corporation is
        doing business).” Id., at 28, n. 8. In other words, because
        §1391 made venue proper, venue could not be “wrong” for
        purposes of §1406(a). Though dictum, the Court’s obser-
        vation supports the holding we reach today. A contrary
        view would all but drain Stewart of any significance. If a
        forum-selection clause rendered venue in all other federal
        courts “wrong,” a defendant could always obtain automatic
        dismissal or transfer under §1406(a) and would not have
        any reason to resort to §1404(a). Stewart’s holding would
        be limited to the presumably rare case in which the de-
        fendant inexplicably fails to file a motion under §1406(a)
        or Rule 12(b)(3).
                                    B
          Although a forum-selection clause does not render venue
        in a court “wrong” or “improper” within the meaning of
        §1406(a) or Rule 12(b)(3), the clause may be enforced
        through a motion to transfer under §1404(a). That provi-
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        sion states that “[f ]or the convenience of parties and wit-
        nesses, in the interest of justice, a district court may
        transfer any civil action to any other district or division
        where it might have been brought or to any district or
        division to which all parties have consented.” Unlike
        §1406(a), §1404(a) does not condition transfer on the ini-
        tial forum’s being “wrong.” And it permits transfer to
        any district where venue is also proper (i.e., “where [the
        case] might have been brought”) or to any other district to
        which the parties have agreed by contract or stipulation.
           Section 1404(a) therefore provides a mechanism for
        enforcement of forum-selection clauses that point to a
        particular federal district. And for the reasons we address
        in Part III, infra, a proper application of §1404(a) requires
        that a forum-selection clause be “given controlling weight
        in all but the most exceptional cases.” Stewart, supra, at
        33 (KENNEDY, J., concurring).
           Atlantic Marine argues that §1404(a) is not a suitable
        mechanism to enforce forum-selection clauses because
        that provision cannot provide for transfer when a forum-
        selection clause specifies a state or foreign tribunal, see
        Brief for Petitioner 18–19, and we agree with Atlantic
        Marine that the Court of Appeals failed to provide a sound
        answer to this problem. The Court of Appeals opined that
        a forum-selection clause pointing to a nonfederal forum
        should be enforced through Rule 12(b)(3), which permits a
        party to move for dismissal of a case based on “improper
        venue.” 701 F. 3d, at 740. As Atlantic Marine persua-
        sively argues, however, that conclusion cannot be recon-
        ciled with our construction of the term “improper venue” in
         §1406 to refer only to a forum that does not satisfy federal
        venue laws. If venue is proper under federal venue rules,
        it does not matter for the purpose of Rule 12(b)(3) whether
        the forum-selection clause points to a federal or a nonfed-
        eral forum.
           Instead, the appropriate way to enforce a forum-
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        selection clause pointing to a state or foreign forum is
        through the doctrine of forum non conveniens. Section
        1404(a) is merely a codification of the doctrine of forum
        non conveniens for the subset of cases in which the trans-
        feree forum is within the federal court system; in such
        cases, Congress has replaced the traditional remedy of
        outright dismissal with transfer. See Sinochem Int’l Co. v.
        Malaysia Int’l Shipping Corp., 549 U. S. 422, 430 (2007)
        (“For the federal court system, Congress has codified the
        doctrine . . . ”); see also notes following §1404 (Historical
        and Revision Notes) (Section 1404(a) “was drafted in
        accordance with the doctrine of forum non conveniens,
        permitting transfer to a more convenient forum, even
        though the venue is proper”). For the remaining set of
        cases calling for a nonfederal forum, §1404(a) has no
        application, but the residual doctrine of forum non conven-
        iens “has continuing application in federal courts.” Sino-
        chem, 549 U. S., at 430 (internal quotation marks and
        brackets omitted); see also ibid. (noting that federal courts
        invoke forum non conveniens “in cases where the alterna-
        tive forum is abroad, and perhaps in rare instances where
        a state or territorial court serves litigational convenience
        best” (internal quotation marks and citation omitted)).
        And because both §1404(a) and the forum non conveniens
        doctrine from which it derives entail the same balancing-
        of-interests standard, courts should evaluate a forum-
        selection clause pointing to a nonfederal forum in the
        same way that they evaluate a forum-selection clause
        pointing to a federal forum. See Stewart, 487 U. S., at 37
        (SCALIA, J., dissenting) (Section 1404(a) “did not change
        ‘the relevant factors’ which federal courts used to consider
        under the doctrine of forum non conveniens” (quoting
        Norwood v. Kirkpatrick, 349 U. S. 29, 32 (1955))).
                                   C
          An amicus before the Court argues that a defendant in a
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        breach-of-contract action should be able to obtain dismis-
        sal under Rule 12(b)(6) if the plaintiff files suit in a dis-
        trict other than the one specified in a valid forum-selection
        clause. See Brief for Stephen E. Sachs as Amicus Curiae.
        Petitioner, however, did not file a motion under Rule
        12(b)(6), and the parties did not brief the Rule’s applica-
        tion to this case at any stage of this litigation. We there-
        fore will not consider it. Even if a defendant could use
        Rule 12(b)(6) to enforce a forum-selection clause, that
        would not change our conclusions that §1406(a) and Rule
        12(b)(3) are not proper mechanisms to enforce a forum-
        selection clause and that §1404(a) and the forum non
        conveniens doctrine provide appropriate enforcement
        mechanisms.4
                                     III
          Although the Court of Appeals correctly identified
        §1404(a) as the appropriate provision to enforce the forum-
        selection clause in this case, the Court of Appeals erred in
        failing to make the adjustments required in a §1404(a)
        analysis when the transfer motion is premised on a forum-
        selection clause. When the parties have agreed to a valid
        forum-selection clause, a district court should ordinarily
        transfer the case to the forum specified in that clause.5
        Only under extraordinary circumstances unrelated to the
        convenience of the parties should a §1404(a) motion be
        denied. And no such exceptional factors appear to be
        present in this case.
        ——————
           4 We observe, moreover, that a motion under Rule 12(b)(6), unlike a

        motion under §1404(a) or the forum non conveniens doctrine, may lead
        to a jury trial on venue if issues of material fact relating to the validity
        of the forum-selection clause arise. Even if Professor Sachs is ultimately
        correct, therefore, defendants would have sensible reasons to invoke
        §1404(a) or the forum non conveniens doctrine in addition to Rule
        12(b)(6).
           5 Our analysis presupposes a contractually valid forum-selection

        clause.
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                                      A
           In the typical case not involving a forum-selection
        clause, a district court considering a §1404(a) motion (or a
        forum non conveniens motion) must evaluate both the
        convenience of the parties and various public-interest
        considerations.6 Ordinarily, the district court would weigh
        the relevant factors and decide whether, on balance, a
        transfer would serve “the convenience of parties and wit-
        nesses” and otherwise promote “the interest of justice.”
        §1404(a).
           The calculus changes, however, when the parties’ con-
        tract contains a valid forum-selection clause, which “rep-
        resents the parties’ agreement as to the most proper
        forum.” Stewart, 487 U. S., at 31. The “enforcement of
        valid forum-selection clauses, bargained for by the parties,
        protects their legitimate expectations and furthers vital
        interests of the justice system.” Id., at 33 (KENNEDY, J.,
        concurring). For that reason, and because the overarching
        consideration under §1404(a) is whether a transfer would
        promote “the interest of justice,” “a valid forum-selection
        clause [should be] given controlling weight in all but the
        most exceptional cases.” Id., at 33 (same). The presence
        of a valid forum-selection clause requires district courts to
        adjust their usual §1404(a) analysis in three ways.
        ——————
          6 Factors relating to the parties’ private interests include “relative

        ease of access to sources of proof; availability of compulsory process for
        attendance of unwilling, and the cost of obtaining attendance of willing,
        witnesses; possibility of view of premises, if view would be appropriate
        to the action; and all other practical problems that make trial of a case
        easy, expeditious and inexpensive.” Piper Aircraft Co. v. Reyno, 454
        U. S. 235, 241, n. 6 (1981) (internal quotation marks omitted). Public-
        interest factors may include “the administrative difficulties flowing
        from court congestion; the local interest in having localized controver-
        sies decided at home; [and] the interest in having the trial of a diversity
        case in a forum that is at home with the law.” Ibid. (internal quotation
        marks omitted). The Court must also give some weight to the plaintiffs’
        choice of forum. See Norwood v. Kirkpatrick, 349 U. S. 29, 32 (1995).
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           First, the plaintiff ’s choice of forum merits no weight.
        Rather, as the party defying the forum-selection clause,
        the plaintiff bears the burden of establishing that transfer
        to the forum for which the parties bargained is unwar-
        ranted. Because plaintiffs are ordinarily allowed to select
        whatever forum they consider most advantageous (con-
        sistent with jurisdictional and venue limitations), we have
        termed their selection the “plaintiff ’s venue privilege.”
        Van Dusen, 376 U. S., at 635.7 But when a plaintiff agrees
        by contract to bring suit only in a specified forum—
        presumably in exchange for other binding promises by
        the defendant—the plaintiff has effectively exercised its
        “venue privilege” before a dispute arises. Only that initial
        choice deserves deference, and the plaintiff must bear the
        burden of showing why the court should not transfer the
        case to the forum to which the parties agreed.
           Second, a court evaluating a defendant’s §1404(a) mo-
        tion to transfer based on a forum-selection clause should
        not consider arguments about the parties’ private inter-
        ests. When parties agree to a forum-selection clause, they
        waive the right to challenge the preselected forum as
        inconvenient or less convenient for themselves or their
        witnesses, or for their pursuit of the litigation. A court
        accordingly must deem the private-interest factors to
        weigh entirely in favor of the preselected forum. As we
        have explained in a different but “ ‘instructive’ ” context,
        Stewart, supra, at 28, “[w]hatever ‘inconvenience’ [the
        parties] would suffer by being forced to litigate in the
        contractual forum as [they] agreed to do was clearly fore-
        seeable at the time of contracting.” The Bremen v. Zapata
        Off-Shore Co., 407 U. S. 1, 17–18 (1972); see also Stewart,
        ——————
           7 We note that this “privilege” exists within the confines of statutory

        limitations, and “[i]n most instances, the purpose of statutorily speci-
        fied venue is to protect the defendant against the risk that a plaintiff
        will select an unfair or inconvenient place of trial.” Leroy v. Great
        Western United Corp., 443 U. S. 173, 183–184 (1979).
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        supra, at 33 (KENNEDY, J., concurring) (stating that Bre-
        men’s “reasoning applies with much force to federal courts
        sitting in diversity”).
           As a consequence, a district court may consider argu-
        ments about public-interest factors only. See n. 6, supra.
        Because those factors will rarely defeat a transfer motion,
        the practical result is that forum-selection clauses should
        control except in unusual cases. Although it is “conceiv-
        able in a particular case” that the district court “would
        refuse to transfer a case notwithstanding the counter-
        weight of a forum-selection clause,” Stewart, supra, at 30–
        31, such cases will not be common.
           Third, when a party bound by a forum-selection clause
        flouts its contractual obligation and files suit in a different
        forum, a §1404(a) transfer of venue will not carry with it
        the original venue’s choice-of-law rules—a factor that in
        some circumstances may affect public-interest considera-
        tions. See Piper Aircraft Co. v. Reyno, 454 U. S. 235, 241,
        n. 6 (1981) (listing a court’s familiarity with the “law that
        must govern the action” as a potential factor). A federal
        court sitting in diversity ordinarily must follow the choice-
        of-law rules of the State in which it sits. See Klaxon Co. v.
        Stentor Elec. Mfg. Co., 313 U. S. 487, 494–496 (1941).
        However, we previously identified an exception to that prin-
        ciple for §1404(a) transfers, requiring that the state law
        applicable in the original court also apply in the trans-
        feree court. See Van Dusen, 376 U. S., at 639. We deemed
        that exception necessary to prevent “defendants, properly
        subjected to suit in the transferor State,” from “invok[ing]
        §1404(a) to gain the benefits of the laws of another juris-
        diction . . . .” Id., at 638; see Ferens v. John Deere Co., 494
        U. S. 516, 522 (1990) (extending the Van Dusen rule to
        §1404(a) motions by plaintiffs).
           The policies motivating our exception to the Klaxon rule
        for §1404(a) transfers, however, do not support an exten-
        sion to cases where a defendant’s motion is premised on
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        enforcement of a valid forum-selection clause. See Ferens,
        supra, at 523. To the contrary, those considerations lead
        us to reject the rule that the law of the court in which the
        plaintiff inappropriately filed suit should follow the case to
        the forum contractually selected by the parties. In Van
        Dusen, we were concerned that, through a §1404(a) trans-
        fer, a defendant could “defeat the state-law advantages
        that might accrue from the exercise of [the plaintiff ’s]
        venue privilege.” 376 U. S., at 635. But as discussed
        above, a plaintiff who files suit in violation of a forum-
        selection clause enjoys no such “privilege” with respect to
        its choice of forum, and therefore it is entitled to no con-
        comitant “state-law advantages.” Not only would it be
        inequitable to allow the plaintiff to fasten its choice of
        substantive law to the venue transfer, but it would also
        encourage gamesmanship. Because “§1404(a) should not
        create or multiply opportunities for forum shopping,”
        Ferens, supra, at 523, we will not apply the Van Dusen
        rule when a transfer stems from enforcement of a forum-
        selection clause: The court in the contractually selected
        venue should not apply the law of the transferor venue to
        which the parties waived their right.8
        ——————
          8 For the reasons detailed above, see Part II–B, supra, the same

        standards should apply to motions to dismiss for forum non conveniens
        in cases involving valid forum-selection clauses pointing to state or for-
        eign forums. We have noted in contexts unrelated to forum-selection
        clauses that a defendant “invoking forum non conveniens ordinarily
        bears a heavy burden in opposing the plaintiff’s chosen forum.” Sino-
        chem Int’l Co. v. Malaysia Int’l Shipping Co., 549 U. S. 422, 430 (2007).
        That is because of the “hars[h] result” of that doctrine: Unlike a
        §1404(a) motion, a successful motion under forum non conveniens
        requires dismissal of the case. Norwood, 349 U. S., at 32. That incon-
        veniences plaintiffs in several respects and even “makes it possible for
        [plaintiffs] to lose out completely, through the running of the statute of
        limitations in the forum finally deemed appropriate.” Id., at 31 (inter-
        nal quotation marks omitted). Such caution is not warranted, however,
        when the plaintiff has violated a contractual obligation by filing suit
        in a forum other than the one specified in a valid forum-selection
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          When parties have contracted in advance to litigate
        disputes in a particular forum, courts should not unneces-
        sarily disrupt the parties’ settled expectations. A forum-
        selection clause, after all, may have figured centrally in
        the parties’ negotiations and may have affected how they
        set monetary and other contractual terms; it may, in fact,
        have been a critical factor in their agreement to do busi-
        ness together in the first place. In all but the most un-
        usual cases, therefore, “the interest of justice” is served by
        holding parties to their bargain.
                                     B
           The District Court’s application of §1404(a) in this case
        did not comport with these principles. The District Court
        improperly placed the burden on Atlantic Marine to prove
        that transfer to the parties’ contractually preselected
        forum was appropriate. As the party acting in violation of
        the forum-selection clause, J-Crew must bear the burden
        of showing that public-interest factors overwhelmingly
        disfavor a transfer.
           The District Court also erred in giving weight to argu-
        ments about the parties’ private interests, given that all
        private interests, as expressed in the forum-selection
        clause, weigh in favor of the transfer. The District Court
        stated that the private-interest factors “militat[e] against
        a transfer to Virginia” because “compulsory process will
        not be available for the majority of J-Crew’s witnesses”
        and there will be “significant expense for those willing
        witnesses.” 2012 WL 8499879, *6–*7; see 701 F. 3d, at
        743 (noting District Court’s “concer[n] with J-Crew’s abil-
        ity to secure witnesses for trial”). But when J-Crew en-
        tered into a contract to litigate all disputes in Virginia,
        it knew that a distant forum might hinder its ability to
        call certain witnesses and might impose other burdens on
        ——————
        clause. In such a case, dismissal would work no injustice on the plaintiff.
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        its litigation efforts. It nevertheless promised to resolve
        its disputes in Virginia, and the District Court should
        not have given any weight to J-Crew’s current claims of
        inconvenience.
           The District Court also held that the public-interest
        factors weighed in favor of keeping the case in Texas
        because Texas contract law is more familiar to federal
        judges in Texas than to their federal colleagues in Vir-
        ginia. That ruling, however, rested in part on the District
        Court’s belief that the federal court sitting in Virginia
        would have been required to apply Texas’ choice-of-law
        rules, which in this case pointed to Texas contract law.
        See 2012 WL 8499879, *8 (citing Van Dusen, supra, at
        639). But for the reasons we have explained, the trans-
        feree court would apply Virginia choice-of-law rules. It is
        true that even these Virginia rules may point to the con-
        tract law of Texas, as the State in which the contract was
        formed. But at minimum, the fact that the Virginia court
        will not be required to apply Texas choice-of-law rules
        reduces whatever weight the District Court might have
        given to the public-interest factor that looks to the famili-
        arity of the transferee court with the applicable law. And,
        in any event, federal judges routinely apply the law of a
        State other than the State in which they sit. We are not
        aware of any exceptionally arcane features of Texas con-
        tract law that are likely to defy comprehension by a fed-
        eral judge sitting in Virginia.
                                 *    *    *
          We reverse the judgment of the Court of Appeals for the
        Fifth Circuit. Although no public-interest factors that
        might support the denial of Atlantic Marine’s motion to
        transfer are apparent on the record before us, we remand
        the case for the courts below to decide that question.

                                                          It is so ordered.
